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®AO 245B (Rev. 12/03) Judgment in a Criminal Case

Sheet 1
UNITED STATES DISTRICT COURT
SOUTHERN District of INDIANA
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.

JOHN SMITH Case Number: 1:08CR00042-001
USM Number: 08708-028
Bruce D. Brattain
Defendant’s Attorney

THE DEFENDANT:

X pleaded guilty to count(s) 1

OJ pleaded nolo contendere to count(s)

which was accepted by the court.

D1 was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count(s)
21 U.S.C. §§ 841 (a)(1) Conspiracy to Distribute in Excess of Five Kilograms of Cocaine 9/11/2007 1
and 846 (Mixture)

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

C1 The defendant has been found not guilty on count(s)

X Count(s) 19 X is OJ are dismissed on the motion of the United States.

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

9/30/2008

Date of Imposition of Judgment

Hirth, Dodaus Brrke/

Signature of Judicial Officer

Honorable Sarah Evans Barker, U.S. District Court Judge
Name and Title of Judicial Officer

Creteler ¢ , 200%

Date
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AO 245B (Rev. 12/03) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: JOHN SMITH
CASE NUMBER: 1:08CR00042-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 266 months, to be served concurrently with the sentence imposed in Case No. 1:07CR00125-015

X= The court makes the following recommendations to the Bureau of Prisons:
the defendant be designated to a facility as close as possible to Indianapolis, IN.

X_= The defendant is remanded to the custody of the United States Marshal.

(1 The defendant shall surrender to the United States Marshal for this district:
OO at Oam Opm on
1 as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

0 _sbefore 2 p.m. on

1 sas notified by the United States Marshal.

1 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: JOHN SMITH
CASE NUMBER: 1:08CRO00042-001
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 5 years,

concurrent with the term imposed in Case No. 1:07CR00125-015

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
ereafter.

O_ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

x

xX

(The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

(The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this Judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) _ the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 3C — Supervised Release

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DEFENDANT: JOHN SMITH
CASE NUMBER: 1:08CR00042-001

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall provide the probation officer access to any requested financial information.

2. The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
officer.

3. The defendant shall participate in a program of testing for substance abuse to include no more than eight drug tests per
month and shall pay a portion of the fees of testing.

4. The defendant shall submit to the search (with the assistance of other law enforcement as necessary) of his person,
vehicle, office/business, residence and property, including computer systems and peripheral devices. The defendant

shall submit to the seizure of contraband found. The defendant shall warn other occupants the premises may be subject
to searches.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)

Defendant Date

U.S. Probation Officer/Designated Witness _ Date
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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: JOHN SMITH
CASE NUMBER: 1:08CR00042-001

CRIMINAL MONETARY PENALTIES

The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
1 The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately Pro ortioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

1 sRestitution amount ordered pursuant to plea agreement $

The defendant shall pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the

fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Os The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C1 the interest requirement is waived forthe [] fine [J restitution.

[the interest requirement for the DD fine [CO restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

Judgment — Page 5 of 5

DEFENDANT: JOHN SMITH
CASE NUMBER: 1:08CR00042-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [) Lump sum payment of $ due immediately, balance due

CJ snot later than , or
1 #inaccordancewith (] C, (7 D, QQ E,or {J F below; or

B X_ Payment to begin immediately (may be combined with [JC, OD,or [JF below); or

C (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [ Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  { Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin
imprisonment. All crimina monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

LJ ‘Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

Defendant Name Case Number Joint & Several Amount

L] The defendant shall pay the cost of prosecution.
L)_ The defendant shall pay the following court cost(s):

X = The defendant shall forfeit the defendant’s interest in the following property to the United States:
any property constituting or derived from any proceeds obtained as a result of the instant offense

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
